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                                           May 25, 2023

 Via ECF
 The Honorable Michael A. Hammer,
 United States Magistrate Judge
 Martin Luther King, Jr. Federal Building
 And Courthouse, 2nd Floor
 50 Walnut Street
 Newark, New Jersey 07102

        Re:       Bianchi v. Samsung Electronics America, Inc. et al.
                  Civil Action No.: 2:17-cv-01263-CCC-MAM

 Dear Judge Hammer:

         This firm, along with Squire Patton Boggs (US) LLP, represents defendant, Samsung
 Electronics America, Inc. (“SEA”), in the above-referenced matter. As per Your Honor’s direction
 in the Order of March 6, 2023, we are providing a joint status report.

         The parties have now entered the final stage of the Settlement Agreement reached with the
 assistance of the Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.). A settlement outreach has been
 launched to customers who were identified through a deliberate process as potentially part of
 Plaintiffs’ putative class and will now be offered individual settlements. We anticipate a swift
 response period. We therefore respectfully request that Your Honor allow us to report back in July
 2023.


  Respectfully,                                 Respectfully,

  /s/ James J. O’Hara________________           __/s/ Jonathan Shub______________________
  JAMES J. OHARA
  On behalf of Defendant,                        On behalf of Plaintiffs
  Samsung Electronics America, Inc.

 Cc:    Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.)
